455 F.2d 607
    79 L.R.R.M. (BNA) 2192, 67 Lab.Cas.  P 12,255
    *NLRBv.Martin Stamping and Stove Company
    71-2447
    United States Court of Appeals Fifth Circuit
    Dec. 7, 1971
    
      1
      NLRB Ala.
    
    
      2
      (The decision of the Court is referenced in a 'Table of Decisions Without Reported Opinions' appearing in the Federal Reporter. The Fifth Circuit by rule sets forth criteria for publication, provides for affirmance without opinion in certain circumstances, and directs that if an unpublished opinion is cited, a copy shall be attached to each copy of the brief.  Fifth Circuit Rules, Rule 47.5, 28 U.S.C.A.)
    
    
      3
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        * Summary Calendar cases; Rule 18, 5 Cir.; See Isbell Enterprises, Inc. v. Citizens Casualty Co. of
      
    
    